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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION



 ROBERT LICARI,

 Plaintiff,

 vs.                                           Case No: 10-61799-CIV-MARTINEZ-BROWN

 FINANCIAL CORPORATION
 OF AMERICA,

 Defendant.
 _____________________________________/


                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                 WITH PREJUDICE

         Having amicably resolved all matters in controversy and pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



 Dated: May 11, 2011                           Respectfully submitted,


                                               /s Andrew I. Glenn
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